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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ALFONSO VELASQUEZ, ANTONIO CANO, and
 NOE EULOGIO, individually and on behalf of others                         15-cv-4376 (AKH)
 similarly situated,
                                                                   SETTLEMENT AGREEMENT
                                  Plaintiffs,                               AND
                                                                          RELEASE
                 -against-


 BURRITO BOX INC. (d/b/a BURRITO BOX),
 FRANCISCO ESCOBAR and MAGDALENA
 ESCOBAR,

                                  Defendants.



        This Settlement Agreement and Release of Claims (“Agreement”) is entered into by and
among Plaintiffs ALFONSO VELASQUEZ, ANTONIO CANO, and NOE EULOGIO
(“Plaintiffs”) on the one hand and BURRITO BOX INC. (d/b/a BURRITO BOX), FRANCISCO
ESCOBAR and MAGDALENA ESCOBAR (collectively the Defendant Corporation and the
Individual Defendants are the “Defendants”), on the other hand.

        WHEREAS, Plaintiffs allege that they worked for Defendants as employees; and

        WHEREAS, a dispute has arisen regarding Plaintiffs’ alleged employment and the terms
thereof, which dispute has resulted in the filing of an action in the United States District Court for
the Southern District of New York, Civil Action No: 1:15-cv-4376 (hereinafter “the Litigation”),
alleging, among other things, a violation of federal and state wage and hour and overtime laws;

       WHEREAS, Defendants deny any violation of federal and state wage and hour and
overtime laws; and

        WHEREAS, the parties desire to resolve all disputes between them without the necessity
of further litigation;

        NOW, THEREFORE, in consideration of the mutual covenants and promises herein
contained and other good and valuable consideration, receipt of which is hereby acknowledged, it
is hereby agreed as follows:

       1. Payment: Defendants shall pay or cause to be paid to Plaintiffs, subject to the terms and
conditions of this Agreement, and as full, complete, and final settlement and final satisfaction of
any and all claims or potential claims Plaintiffs may have against Defendants through the Effective
Date of this Agreement, including all counsel fees and costs incurred by Plaintiffs, the sum of Thirty Two
Thousand Five Hundred Dollars ($32,500.00) (the "Settlement Amount") to be paid to Plaintiffs’ attorneys


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in thirteen (13) installments, as follows:


       (a)      Installment One: A payment in the amount of Seven Thousand Dollars ($7,000.00),
       made payable to "Michael A. Faillace, Esq., as Attorney for Plaintiffs" delivered to
       Plaintiffs' counsel ten (10) days following approval of the court.

       (b)     Installment Two: A payment in the amount of Two Thousand One Hundred Twenty
       Five Dollars ($2,125.00), by post-dated check made payable to "Michael A. Faillace, Esq., as
       Attorney for Plaintiffs" delivered to Plaintiffs' counsel with Installment One, and payable
       on or before thirty (30) days following payment of Installment One.

       (c)     Installment Three: A payment in the amount of Two Thousand One Hundred Twenty
       Five Dollars ($2,125.00), by post-dated check made payable to "Michael A. Faillace, Esq., as
       Attorney for Plaintiffs" delivered to Plaintiffs' counsel with Installment One, and payable
       on or before sixty (60) days following payment of Installment One.

       (d)     Installment Four: A payment in the amount of Two Thousand One Hundred Twenty
       Five Dollars ($2,125.00), by post-dated check made payable to "Michael A. Faillace, Esq., as
       Attorney for Plaintiffs" delivered to Plaintiffs' counsel with Installment One, and payable
       on or before ninety (90) days following payment of Installment One.

       (e)     Installment Five: A payment in the amount of Two Thousand One Hundred Twenty
       Five Dollars ($2,125.00), by post-dated check made payable to "Michael A. Faillace, Esq., as
       Attorney for Plaintiffs" delivered to Plaintiffs' counsel with Installment One,, and payable
       on or before one hundred twenty (120) days following payment of Installment One.

       (f)      Installment Six: A payment in the amount of Two Thousand One Hundred Twenty Five
       Dollars ($2,125.00), by post-dated check made payable to "Michael A. Faillace, Esq., as
       Attorney for Plaintiffs" delivered to Plaintiffs' counsel with Installment One, and payable
       on or before one hundred fifty (150) days following payment of Installment One.

       (g)     Installment Seven: A payment in the amount of Two Thousand One Hundred Twenty
       Five Dollars ($2,125.00), by post-dated check made payable to "Michael A. Faillace, Esq., as
       Attorney for Plaintiffs" delivered to Plaintiffs' counsel with Installment One, and payable
       on or before one hundred eighty (180) days following payment of Installment One.

       (h)     Installment Eight: A payment in the amount of Two Thousand One Hundred Twenty
       Five Dollars ($2,125.00), by post-dated check made payable to "Michael A. Faillace, Esq., as
       Attorney for Plaintiffs" delivered to Plaintiffs' counsel with Installment One, and payable
       on or before two hundred ten (210) days following payment of Installment One.

       (i)     Installment Nine: A payment in the amount of Two Thousand One Hundred Twenty
       Five Dollars ($2,125.00), by post-dated check made payable to "Michael A. Faillace, Esq., as
       Attorney for Plaintiffs" delivered to Plaintiffs' counsel with Installment One, and payable
       on or before two hundred forty (240) days following payment of Installment One.


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      (j)     Installment Ten: A payment in the amount of Two Thousand One Hundred Twenty
      Five Dollars ($2,125.00), by post-dated check made payable to "Michael A. Faillace, Esq., as
      Attorney for Plaintiffs" delivered to Plaintiffs' counsel with Installment One, and payable
      on or before two hundred seventy (270) days following payment of Installment One.

      (k)     Installment Eleven: A payment in the amount of Two Thousand One Hundred Twenty
      Five Dollars ($2,125.00), by post-dated check made payable to "Michael A. Faillace, Esq., as
      Attorney for Plaintiffs" delivered to Plaintiffs' counsel with Installment One, and payable
      on or before three hundred (300) days following payment of Installment One.

      (l)     Installment Twelve: A payment in the amount of Two Thousand One Hundred Twenty
      Five Dollars ($2,125.00), by post-dated check made payable to "Michael A. Faillace, Esq., as
      Attorney for Plaintiffs" delivered to Plaintiffs' counsel with Installment One, and payable
      on or before three hundred thirty (330) days following payment of Installment One.

      (m)     Installment Thirteen: A payment in the amount of Two Thousand One Hundred Twenty
      Five Dollars ($2,125.00), by post-dated check made payable to "Michael A. Faillace, Esq., as
      Attorney for Plaintiffs" delivered to Plaintiffs' counsel with Installment One, and payable
      on or before three hundred sixty (360) days payment of Installment One.

        2(a). Plaintiffs shall submit all documents necessary to obtain dismissal of this action
with prejudice as against the Settling Defendants; however the Court shall retain jurisdiction
pursuant to the terms of this Agreement so that the Court has jurisdiction to enter judgment in the
event of Settling Defendants’ failure to adhere to the payment schedule by a breach and failure to
cure as described below

        2(b). At the time of the execution of the Settlement Agreement, the Settling Defendants
shall sign Affidavits of Confession of Judgment, the forms of which are appended hereto as
Exhibit A. The Settling Defendants shall deliver the executed Affidavits of Confession of
Judgment to Plaintiffs’ attorneys. Plaintiffs’ attorneys shall hold the Affidavits of Confession of
Judgment in escrow. In the event that the Settlement Amount is not paid by the payment dates set
forth in paragraph 1 above, or any check fails to clear (i.e., bounces) on its respective payment
date, Plaintiffs’ counsel shall serve a written notice (“Default Notice”) upon counsel for the
Settling Defendants by overnight registered mail, and the Defendants shall have ten (10) days from
the date of delivery of the Default Notice to cure the default by making such payment together
with any bank penalties incurred by Plaintiffs and the costs of providing Settling Defendants notice
by registered mail. Upon Settling Defendants’ failure to cure a default within ten (10) days of
delivery of the Default Notice, counsel for Plaintiffs may immediately file the Affidavits of
Confession of Judgment, the form of which is appended hereto as Exhibit A. Upon full satisfaction
by the Defendants of the terms of this Settlement Agreement, Defendants’ attorney may demand
that Plaintiffs’ attorney return the Affidavits of Confession of Judgment to Defendants’ attorney,
and Plaintiffs’ attorney shall return the Affidavits of Confession of Judgment upon such demand

        2(c). Plaintiffs shall be solely responsible for any taxes resulting from payments received
under the Agreement. Plaintiffs shall indemnify and hold each of the Defendants harmless to the
fullest extent permitted by law, including the payment of any damages, penalties, interest,


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attorneys’ fees and/or judgments that may be incurred by Defendants resulting from payments
under this Agreement.


                3.      Release and Covenant Not To Sue: In consideration of the payments,
benefits, agreements and other consideration to be provided by Defendants as described in the
Agreement including but not limited to the release by Defendants, Plaintiffs, for themselves and
their heirs, executors, administrators and their respective successors and assigns, HEREBY
RELEASE AND FOREVER DISCHARGE, to the maximum extent permitted by law, Defendants,
any insurers of Defendants, and Defendants’ respective parent corporations, stockholders,
subsidiaries, affiliates, divisions, successors and assigns, their respective current and former
officers, owners, directors, employees, trustees, agents, whether as individuals or in their official
capacity, and each of their respective successors and assigns of and from all or any manner of
actions, causes and causes of action, suits, debts, obligations, damages, complaints, liabilities,
losses, covenants, contracts, controversies, agreements, promises, and expenses (including
attorneys’ fees and costs), extents, executions, claims and demands whatsoever at law or in equity
(“claims”), specifically including by way of example but not limitation, the Fair Labor Standards
Act, New York Labor Law, New York Code Rules and Regulations, arising out of Plaintiffs’
employment by Defendants, their termination thereof, and/or the negotiation and/or execution of
this Agreement, or all claims referred to or identified in various correspondence to and between
the parties leading up to this Agreement.

         Similarly, Defendants release and discharge Plaintiffs from any and all known claims, and
liabilities of any kind that they have, had or claimed to have against Plaintiffs regarding events
that have occurred as of the Effective Date of this Agreement.

       4.      No Admission of Wrongdoing: This Agreement and compliance with this
Agreement shall not be construed as an admission by Defendants of any liability whatsoever, or
of any violation of any statute, regulation, duty, contract, right or order.

       5.     Dismissal of the Litigation: Plaintiffs shall file, within seven (7) days of receipt of
the executed Settlement Agreement and payment in accordance with paragraph 1(a), a Stipulation
of Dismissal with Prejudice (in the form of Exhibit A, attached hereto, which is incorporated to
this agreement by reference) with the Court in this action. In the event that additional
documentation is needed to terminate the Litigation, Plaintiffs shall execute and submit all
documents required to terminate such proceedings.

      6.       Modification of the Agreement: This Agreement may not be changed unless the
changes are in writing and signed by a proper representative of Plaintiffs and Defendants.

       7.      Acknowledgment: Each Plaintiff acknowledges that he has been fully and fairly
represented by counsel in this matter. Defendants acknowledge that they have consulted with
counsel for the purpose of this Agreement.

       Plaintiffs and Defendants acknowledge that they are not relying upon any statement,
representation or promise in executing this Agreement except for statements, representations or


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promises expressly set forth in this Agreement. They further acknowledge and agree that the only
consideration for signing this Agreement is as set forth in this Agreement.

        8.    Notices: Notices required under this Agreement shall be in writing and shall be
deemed given on the first business day following first-class mailing and electronic transmission
thereof. Notice hereunder shall be delivered to:

       To Plaintiffs:

       Michael Faillace, Esq.
       MICHAEL FAILLACE & ASSOCIATES, P.C.
       60 East 42nd St. Suite 4510
       New York, NY 10165
       Tel: (212) 317-1200
       Fax: (212) 317-1620
       Email: michael@faillacelaw.com

       To Defendants:

       Michael K. Chong, Esq.
       MKC Law Group LLC
       2 Executive Drive, Suite 720,
       Fort Lee, New Jersey 07024
       Ph#: (201) 947-5200
       Fx#: (201) 708-6676
       Email: mkchong@mkclawgroup.com

        9.     Governing Law: This Agreement shall be governed by, and interpreted in
accordance with, the laws of the State of New York, excluding the conflict-of-laws principles
thereof. The parties consent and stipulate to the personal jurisdiction of the United States District
Court for the Southern District of New York and the Supreme Court of the State of New York in
any subsequent proceeding to enforce this Agreement.

        10.      Enforceability: If any provision of this Agreement is held to be illegal, void, or
unenforceable, such provision shall be of no force or effect. However, the illegality or
unenforceability of such provision shall have no effect upon, and shall not impair the legality or
enforceability of, any other provision of this Agreement, provided, however, that upon any finding
by a court of competent jurisdiction that a release or waiver of claims or rights or a covenant set
forth herein is illegal, void or unenforceable, Plaintiffs agree to promptly execute a release, waiver
and/or covenant that is legal and enforceable.
        11.      Release Notification: Defendants advised Plaintiffs to discuss the terms of this
Agreement and release of claims with their legal counsel and Plaintiffs acknowledge that they have
consulted with Michael Faillace, Esq. of Michael Faillace & Associates, P.C., Plaintiffs
acknowledge that it is their choice to waive any potential claims in return for the benefits set forth
herein and that each of them made this decision after careful thought and a reasonable period of
time to consider this Agreement, and after an opportunity to consult with his attorneys. Plaintiffs


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confirm that this Settlement Agreement and Release has been translated to them in Spanish and
that they understand the terms of this Agreement and that they are signing this Agreement
voluntarily.

        12.     No Reemployment By Plaintiffs: Plaintiffs are no longer employed by Defendants
as of the Effective Date. Plaintiffs agree that they will not apply for employment at any time with
Burrito Box Inc. in the future.


       13.     Counterparts: To signify their agreement to the terms of this Agreement and
Release, the parties have executed this Agreement on the date set forth opposite their signatures,
which appear below. This Agreement may be executed in two or more counterparts and each of
such counterparts, for all purposes, shall be deemed to be an original but all of such counterparts
together shall constitute but one and the same instrument, binding upon all parties hereto,
notwithstanding that all of such parties may not have executed the same counterpart.

      THEREFORE, the parties to this Agreement now voluntarily and knowingly execute this
Agreement as follows:

                                         PLAINTIFFS:



Dated: ___________________                   ___________________________________
                                             ALFONSO VELASQUEZ

STATE OF NEW YORK             )
                              )SS.:
COUNTY OF                     )

On ________ _____, 2018 before me personally came to me ALFONSO VELASQUEZ, known
and known to me to be the individual described in, and who executed the foregoing Settlement
Agreement and Release, and duly acknowledged to me that he executed the same.

                                                            __________________
                                                            Notary Public




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Dated: ___________________              ___________________________________
                                        ANTONIO CANO



STATE OF NEW YORK          )
                           )SS.:
COUNTY OF                  )

On ________________, 2018 before me personally came to me ANTONIO CANO, known and
known to me to be the individual described in, and who executed the foregoing Settlement
Agreement and Release, and duly acknowledged to me that he executed the same.

                                                      __________________
                                                      Notary Public



Dated: ___________________              ___________________________________
                                        NOE EULOGIO

STATE OF NEW YORK          )
                           )SS.:
COUNTY OF                  )

On _____________ _____, 2018 before me personally came to me NOE EULOGIO, known and
known to me to be the individual described in, and who executed the foregoing Settlement
Agreement and Release, and duly acknowledged to me that he executed the same.

                                                      __________________
                                                      Notary Public




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                                      DEFENDANTS:



Dated: ___________________                 ___________________________________
                                           FRANCISCO ESCOBAR, individually and as
                                           Owner and President of BURRITO BOX INC.


STATE OF NEW YORK           )
                            )SS.:
COUNTY OF                   )

On _______ _____, 2018 before me personally came to me FRANCISCO ESCOBAR, known and
known to me to be the individual described in, and who executed the foregoing Settlement
Agreement and Release, and duly acknowledged to me that he executed the same.

                                                         __________________
                                                         Notary Public




Dated: ___________________                 ___________________________________
                                           MAGDALENA ESCOBAR



STATE OF NEW YORK           )
                            ) ss:
COUNTY OF _________         )



        On the ___ day of ________, 2018, before me personally came FRANCISCO ESCOBAR,
as the authorized officer of BURRITO BOX INC., to me known who, being by me duly sworn,
did depose that he is the authorized officer of BURRITO BOX INC. and that he is the individual
described in and who executed the foregoing Affidavit of Confession of Judgment, and duly
acknowledged to me that he executed the same.
                                                          __________________________
                                                                 Notary Public




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                                   EXHIBIT A




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ALFONSO VELASQUEZ, ANTONIO CANO, and
 NOE EULOGIO, individually and on behalf of others
 similarly situated,
                                                                  15-cv-4376 (AKH)
                                  Plaintiffs,

                 -against-
                                                                  STIPULATION OF
                                                                  DISCONTINUANCE
 BURRITO BOX INC. (d/b/a BURRITO BOX),
 FRANCISCO ESCOBAR and MAGDALENA
 ESCOBAR,


                                  Defendants.



        IT IS HEREBY STIPULATED and agreed, by and between the undersigned attorneys for the

parties, that the Complaint and any and all claims that were or could have been asserted in this action by

any party are hereby dismissed in their entirety, with prejudice, and with each party to bear its own costs,

expenses, disbursements, and attorneys’ fees. The Court shall continue to exercise jurisdiction over the

enforcement of the settlement agreement.

Date:   New York, New York
        ____________, 2018



Michael K. Chong                                         Michael Faillace, Esq.
MKC Law Group LLC                                        MICHAEL FAILLACE & ASSOCIATES, P.C.
2 Executive Drive, Suite 720                             60 East 42nd. St. Suite 4510
Fort Lee, NJ, 07024                                      New York, NY 10165
(201) 947-5200                                           Tel.: 212.317.1200
Fax: (201) 708-6676                                      Attorneys for Plaintiffs
Email: mkchong@mkclawgroup.com
Attorney for Defendants




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                           EXHIBIT B




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NEW YORK STATE SUPREME COURT COUNTY
---------------------------------------------------------------X
 ALFONSO VELASQUEZ, ANTONIO CANO, and
 NOE EULOGIO, individually and on behalf of others
 similarly situated,
                                                                       AFFIDAVIT OF
                                   Plaintiffs,                          CONFESSION
                                                                       OF JUDGMENT
                 -against-


BURRITO BOX INC. (d/b/a BURRITO BOX),
FRANCISCO ESCOBAR and MAGDALENA
ESCOBAR,

                                   Defendants.
--------------------------------------------------------------X


STATE OF NEW YORK  )
                   ) ss.
COUNTY OF NEW YORK )

        FRANCISCO ESCOBAR being duly sworn, deposes and says:

        1.       I, FRANCISCO ESCOBAR, am the Chairman or Chief Executive Officer of

BURRITO BOX INC. with the principal place of business located at ___________________.

        2.       I reside at ____________________________________________.

        3.       I have authority to sign on behalf of BURRITO BOX INC. and I am duly authorized

to make this affidavit on the undersigned entity’s behalf.

        4.       Provided there shall have been an event of default in the payment of the sums due

under the settlement agreement and such default has continued uncured and unpaid for a period in

excess of ten (10) days after notice and an opportunity to cure, then, upon submission of Plaintiffs’

counsel’s attorney affirmation attesting to such default under oath on behalf of BURRITO BOX

INC. I hereby confess judgment and authorize entry of judgment against BURRITO BOX INC. in


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favor of Plaintiffs for the sum of one and one-quarter times the remaining principal pursuant to the

terms of the Settlement Agreement and Release, together with interest from the date of the default

to the date of entry of judgment, computed as provided in 28 U.S.C. §1961; statutory costs pursuant

to 28 U.S.C. §§ 1920, 1921, 1923, and 1924; and reasonable attorneys' fees incurred in entering

and enforcing the judgment; and interest on the judgment as provided in 28 U.S.C. § 1961.

       5.      This Confession of Judgment is for a debt justly due to Plaintiffs pursuant to the

Settlement Agreement, and Defendants’ default in payment under the Settlement Agreement.

       6.      I hereby represent my understanding that upon Defendants’ breach of the

Settlement Agreement and failure to cure, this Confession of Judgment shall be docketed and

entered as a judgment against of each of BURRITO BOX INC. and FRANCISCO ESCOBAR,

against all property, of any kind, in which any of them, collectively or individually, have any

ownership interest.

                                              ____________________________________
                                              FRANCISCO ESCOBAR, individually and as
                                              officer of BURRITO BOX INC.

STATE OF NEW YORK             )
                              )SS.:
COUNTY OF                     )

On _______ _____, 2018 before me personally came to me FRANCISCO ESCOBAR, known and
known to me to be the individual described in, and who executed the foregoing Settlement
Agreement and Release, and duly acknowledged to me that he executed the same.

                                                             __________________
                                                             Notary Public




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